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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ART+COM INNOVATIONPOOL OMBH,                      )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )   CA. No. 14-217 (TBD)
                                                  )
0000LE INC.,                                      )
                                                  )
                       Defendant.                 )
                                    AMENDED JUDGMENT

       IT IS ORDERED that the Court’s Judgment entered on May 31, 2016 (D.I. 416) is

attended as follows:

       This 31st day of May 2016, the Court having held a jury trial, and the jury having

rendered a verdict, pursuant to Fed. R. Civ. P. 58(b)(2), IT IS HEREBY ORDERED that:

        1.     Judgment is entered for Defendant Google Inc. and against Plaintiff ART+COM

Innovationpool GmbH on the First Amended Complaint (D.I. 9).

       2.      Defendant Google Inc. did not infringe claims 1, 3, 14, or 28 of U.S. Patent No.

RE44,550.

       3.      Claims 1,3, 14, and 28 of U.S. Patent No. RE44,550 are invalid.

       4.      Google’s defenses of inequitable conduct and laches are denied solely on the

ground that they are moot in light of the jury’s finding of non-infringement and invalidity.




                                                      Honorable Tiriotly Btbk
                                                      United States Circuit Judge (sitting by
                                                      designation)
